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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

  IN RE:                                        §
                                                §
  ANSON FINANCIAL, INC.,                        §               CASE NO. 21-41517
                                                §
         DEBTOR.                                §

       CERTIFICATE OF NO OBJECTION REGARDING MOTION OF
       DEBTOR TO EMPLOY SULLIVAN & COOK, LLC AS SPECIAL
       COUNSEL FOR DEBTOR IN ADVERSARY PROCEEDING NO. 21-04071
       (RE: DOCKET NO. 238)

        The undersigned certifies that as of the filing of this certificate that no responses,
objections, and/or requests for hearing with respect to the Motion of Debtor to Employ Sullivan
& Cook, LLC as Special Counsel for Debtor in Adversary Proceeding No. 21-04071 (Docket No.
238) filed herein by Anson Financial, Inc., debtor and debtor in possession (“Anson” or the
“Debtor”) on February 9, 2022, have been filed on the docket of this case or otherwise received
by the undersigned. The response deadline was March 3, 2s022.
Dated: March 4, 2022                  Respectfully submitted:

                                       WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                       By:       /s/ Jeff Carruth
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                                       ATTORNEYS FOR
                                       ANSON FINANCIAL, INC.
                                       DEBTOR AND DEBTOR IN POSSESSION




CERTIFICATE OF NO RESPONSE — Page 1                                               2109579.DOCX
